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                                                                           JS-6
 1                       UNITED STATES DISTRICT COURT
 2
                        CENTRAL DISTRICT OF CALIFORNIA
 3

 4
     LADREEYA TAYLOR, Individually, ) Case No. CV 16-480-GW(JCx)
 5
     And On Behalf Of All Others Similarly )
 6   Situated,                             ) ORDER
 7
                                           )
                      Plaintiff,           )
 8   v.                                    )
 9                                         )
     ALLIANT CAPITAL                       )
10
     MANAGEMENT, LLC,                      )
11                                         )
                      Defendant.           )
12
                                           )
13                                         )
14

15         IT IS HEREBY ORDERED that pursuant to the Stipulation of the parties
16   to dismiss this case with prejudice pursuant to Federal Rules of Civil Procedure
17   41(a)(1)(A)(ii), the entire case is dismissed with prejudice as to the named
18   Plaintiffs, and without prejudice as to the putative class. Each party shall bear its
19   own costs and expenses.
20

21
                                           Dated this 10th day of February, 2017.
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24                                           _______________________________
25
                                             GEORGE H. WU, U.S. District Judge

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27

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                                         Order to Dismiss - 1
